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                                     UNITED STATES DISTRICT COURT
                                          DISTRICT OF OREGON


        UNITED STATES OF AMERICA                       DOCKET NO.: 6:18CR00492-1 MC

                               vs.                     ORDER ON 12B PETITION TO MODIFY
                                                       CONDITIONS OR TERM OF
                    John Widener Jordan                SUPERVISION


     Based on the Petition for Modification of Conditions or Term of Supervision filed on
December 29, 2020, regarding the above-name defendant, IT IS HEREBY ORDERED that,

              No Action
    X         You must participate in a substance abuse treatment or alcohol abuse treatment
              program, which may include inpatient treatment, and follow the rules and
              regulations of that program. The probation officer will supervise your participation
              in the program (provider, location, modality, duration, intensity, etc.). The program
              may include urinalysis testing to determine if you have used drugs or alcohol. You
              must not attempt to obstruct or tamper with the testing methods.

              Submit a Request for Warrant or Summons.
              Court orders the defendant to appear for a status hearing schedule for


                        31st day of December, 2020,
            DATED this _______

                                                                 s/Michael J. McShane
                                                              Michael J. McShane
                                                              U.S. District Judge




Order on Petition to Modify Conditions or Term of Supervision - 6:18CR00492-1 MC
